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                                  UNITED STATES DISTRICT COURT
                                   MIDDLE DISTRICT OF FLORIDA
                                         OCALA DIVISION


RACHELLE BEAUBRUN, KAYLA
BUCHANAN, AMANDA DIMURO,
KRISTEN GODUTO, KARA GUGGINO,
SARA HOEHN, APRIL JOHNSON,
MAGGIE LEON, REBECCA MORA,
TERRY NAGY-PHILIPS, LAUREN
REYNOLDS, ANN URSINY, CRISTIAN
VILLALTA-GAR, and KAREN WATSON,

                   Plaintiffs,

v.                                                              Case No. 5:19-cv-615-Oc-32PRL

UNITED STATES OF AMERICA,

                   Defendant.



                              IMPORTANT INFORMATION ABOUT YOUR CASE
                                     PLEASE READ AND FOLLOW

         TAKE NOTICE, that in accordance with Local Rule 3.05, this action is designated as a
TRACK TWO CASE. The Court's goal is to try most Track Two cases within 12-18 months of
filing. The filing party (that is, the party that instituted suit in this Court) is responsible for
serving a copy of this Notice and its attachments upon all other parties. The parties should
conduct a case management conference (either in person or by telephone1) and file their Case
Management Report no later than 60 days after service or 40 days after the appearance of any
defendant, whichever is sooner.2 In preparing their Report, the parties shall consult the Federal
Rules of Civil Procedure and the Local Rules (available from the Clerk or at
www.flmd.uscourts.gov). http://www.flmd.uscourts.gov). Counsel for all parties share the
obligation to timely comply with the requirements of Local Rule 3.05 and are reminded that they
must do so despite the pendency of any undecided motions. All parties must send courtesy
copies to chambers of all filings that exceed 25 pages, inclusive of exhibits, regardless of whether
the filing is done electronically or in paper.



          If all parties agree to conduct the case management conference by telephone, they may do so
without filing a motion with the Court.

         2
         Local Rule 3.05(c)(2) sets forth different deadlines. The deadlines in this notice enable the
Court to comply with an amendment to Federal Rule of Civil Procedure 16(b)(2) effective December 1,
2015.




[Track 2 updated 1/11/2016]
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       The parties are advised that if they fail to use the attached Case Management Report
form, the Court will set a schedule and select a mediator as the Court deems appropriate.

Date: December 18, 2019                                    ELIZABETH M. WARREN, CLERK
                                                           By: s/MD
                                                                Deputy Clerk
Copies to:      Counsel of Record
                Pro Se Parties
Attachments:    Case Management Report form
                AO 85 Consent to Magistrate Judge Jurisdiction form




                                                    -2-
